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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

CHRISTOPHER GRANT, individually and
On behalf of all others similarly situated

Plaintiff,

V.                                               Case No:

STRADA SERVICES INC. d/b/a
Strada Electric and Security and
JOSEPH STRADA,

Defendants.
___________________________________.

     FLSA SECTION 216B COLLECTIVE ACTION COMPLAINT AND
                   DEMAND FOR JURY TRIAL

        Plaintiff, CHRISTOPHER GRANT, individually, and on behalf of all others

similarly situated, who consent to their inclusion in this collective action, brings this

lawsuit pursuant to §216(b) of the Fair Labor Standards Act (“FLSA”), against

Defendants, STRADA SERVICES INC., d/b/a Strada Electric and Security (a

Florida registered fictitious name) (hereinafter “Strada”) and JOSEPH STRADA

(hereinafter, “Joseph Strada” and collectively with Strada, “Defendants”) for

violations of the Fair Labor Standards Act, 29 U.S.C. §201 et seq. for failure to pay

overtime compensation and a premium for all hours worked over forty (40) each

week.



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                                INTRODUCTION

      1.     The Fair Labor Standards Act is our nation’s foremost wage law. The

overtime requirements of the FLSA were designed to eliminate “labor conditions

detrimental to the maintenance of the minimum standard of living necessary for

health, efficiency, and general well-being of workers...” 29 U.S.C. § 202(a). To

achieve its goals, the FLSA sets minimum wage and overtime pay requirements for

covered employers. 29 U.S.C. §§ 206(a) and 207(a). It requires minimum wage and

overtime pay for certain non-exempt employees. 29 U.S.C. §213.

      2.     Plaintiff, Christopher Grant (“Grant” or “Plaintiff”) worked for

Defendants from on or about July 2020 through the end of November 2020 from

Defendants’ Pensacola, Florida office. For the first 16 or 17 weeks of his

employment, Plaintiff was in Defendants’ training program working under the title

of Trainee or Apprentice Installer. After completing the training program, he went

on to become an Electrician or Electrical Installer with Defendants.

      3.     Defendants maintained a scheme to avoid its obligations to pay

overtime wages to its non-exempt, labor workers and employees in order to save

millions of dollars in labor costs and maximize profits, all to the detriment of its

employees.




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      4.     Defendants shave or edit overtime hours from the employees’ time

records and also permits laborers and non-exempt employees to suffer to work off

the clock.

      5.     Defendants also discourage and take actions to intimidate and prevent

full and accurate reporting of all work hours for all hourly workers and laborers,

such as Plaintiff and other Trainees or Apprentice Installers.

      6.     Plaintiff, like his fellow Trainees or Apprentice Installers, and who are

members of this putative Class, worked at one of 22 or more locations throughout

Florida and Alabama, ultimately overseen and reporting to Defendants at its

corporate office located in Sanford Florida, and under the complete direction and

control of the CEO, Joseph Strada.

      7.     All Trainees or Apprentice Installers were paid on an hourly, non-

exempt basis while in Defendants’ training and/or Apprentice program, irrespective

of the number of hours worked in any day or any work week.

      8.     Defendants engaged in a willful scheme to avoid complying with the

overtime wage requirements of the FLSA by willfully edited timesheets, and/or

directly instructing and ordering Trainees or Apprentice Installers to clock out at the

ending shift time while knowingly permitting them to work off the clock.




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      9.     Defendants thus violated the FLSA by refusing to pay all overtime

compensation for overtime hours they knew or should have known were worked by

Trainees or Apprentice Installers.

      10.    Plaintiff, like his fellow Trainees or Apprentice Installers in the past

three (3) years preceding the filing of this complaint, and still to this day, were

systematically denied overtime pay for most if not all hours they worked in excess

of forty (40) in any workweek on behalf of Defendants.

      11.    Defendants maintained a common unlawful pay practice applicable to

all Trainees or Apprentice Installers of shaving or editing off all work hours over

forty (40) in each work week.

      12.    Defendants also maintained an unlawful pay practice applicable to all

Trainees or Apprentice Installers by instructing them to clock off at 3:30 pm, when

their scheduled shift ended but requiring them to then continue to work off the clock,

including using a threat of termination of their employment if they refused or failed

to do so.

      13.    The Defendants’ time records are both falsified and inaccurate as to

Plaintiff and all other Trainees or Apprentices of Defendants.

      14.    Accordingly, Plaintiff, individually, and on behalf of all others

similarly situated who consent to their inclusion in this collective action, seek

recovery of unpaid overtime wages from Defendants for their violations of the Fair


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Labor Standards Act including: (1) willfully refusing to pay the Plaintiff and others

similarly situated overtime compensation; and (2) willfully failing to maintain and

preserve accurate and true records of all hours worked.

             FLSA CLASS DEFINITION AND RELIEF SOUGHT

       15.   This collective action is to recover from Defendants overtime

compensation, liquidated damages, prejudgment interest, and the costs and

reasonable attorney’s fees under 29 U.S.C. §216(b) on behalf of the Plaintiff and all

similarly situated persons composed of: Trainees or Apprentice Installers

       All persons employed by or performing work for STRADA SERVICES
       INC. reporting to an office or location in Florida or Alabama, under an
       hourly compensation plan, under the titles of Trainee or Apprentice
       Installer and any other job titles previously or currently used to describe
       persons working on an hourly pay rate basis while in STRADA
       SERVICES INC’s training or apprentice program in order to become a
       Helper, installer, technician, Rough and Trim Installer, Right and Trim
       Electrician, or electrician for STRADA SERVICES INC at any time
       within the three (3) years preceding this lawsuit to the day of trial.

                          JURISDICTION AND VENUE

       13.   This Court has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. §1331, since this action involves a federal question under the

Fair Labor Standards Act, 29 U.S.C., §§201-219, inclusive.

       14.   This Court has personal jurisdiction over this action because the

Defendants are engaged in business within the State of Florida and within this

District.

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      15.    Venue is proper in the Northern District of Florida pursuant to 28

U.S.C. §1391(b) since the acts complained of herein took place in this District.

      16.    Upon information and belief, Defendants have revenues of $500,000.00

or more in the previous three (3) years and employ ten (10) or more employees.

      17.    Plaintiff is engaged in interstate commerce, ordering and obtaining

products and materials from across state lines, and then installing such products and

materials.

      18.    At all relevant times, Defendants have been, and continue to be, an

employer engaged in interstate commerce and/or the production of goods for

commerce, within the meaning of FLSA 29 U.S.C. §§206(a) and 207(a).

                                  THE PARTIES

      19.    At all times relevant to this action, Representative Plaintiff Christopher

Grant resided in Florida, and within this district, and at all times material, worked

for Defendants as a Trainee or Apprentice Installer.

      20.    Defendants are an employer as defined by 29 USC section 203d, as

Defendants are directly involved in decisions affecting employee compensation and

hours worked by the Plaintiff and all other similarly situated present and former

employees. Defendants also directed the work and the day-to-day work activities of

the Plaintiff and all others similarly situated, created the unlawful pay practices

alleged, and enforced those pay practices.


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      21.    Defendant, Strada, is a Florida, for profit corporation with its principal

place of business in Sanford, Florida located at 3400 ST. JOHNS PARKWAY,

SANFORD, FL 32771. Defendant may be served through its registered agent,

owner and CEO, Joseph Strada at the same address.

      22.    Defendant Joseph Strada, is the CEO of Strada and upon information

and belief is the majority or sole shareholder of Strada Services Inc. Joseph Strada

is a resident of Florida and subject to the personal jurisdiction of this court.

      23.    Defendant Joseph Strada also created and instituted and maintained the

unlawful pay practices and schemes complained of herein, and was in charge of the

day to day management of the company throughout the preceding 3 years to the

present.

      24.    Defendants own and do business under the Florida registered fictitious

business name of Strada Electric and Security, and operate 22 offices throughout

Florida and Alabama where similarly situated present and former employees worked

from or reported to.

      25.    Defendants operate a Statewide electrical contracting and Security

Services Company throughout the State of Florida and Alabama from its corporate

office located in Sanford, Florida.




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      26.    As per Defendants’ website, Stradaelectric.com, the Defendants

operate at least 22 offices throughout the State of Florida, in addition to offices in

Houston, Texas, and Daphne, Alabama, within the relevant three-year class period.

      27.    Defendants, upon information and belief, employed upwards of 200 or

more employees, who, while in the training or apprentice program were called

Trainees or Apprentice Installers.

                    GENERAL FACTUAL ALLEGATIONS

      28.    Plaintiff, like Defendants’ other employees working under the job titles

of Trainee or Apprentice Installer, was paid on an hourly basis while in Strada’s

Training or Apprentice program.

      29.    Plaintiff was hired by Defendants and began Defendants’ Training or

Apprentice program in July 2020, working towards becoming an Electrician or

Electrical Installer for Defendants. The training program lasted 16 or 17 weeks,

during which Plaintiff was paid on an hourly basis. After completing the training

program, Plaintiff was “certified” by Strada, his title became Electrician or Electrical

Installer, and his compensation was changed to a piece rate based on the square

footage of the house being worked on.

      30.    During and after the training program, Plaintiff’s job duties were to go

to new home construction sites and wire the home and install outlets, fixtures, and

other electrical materials and parts.


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       31.     Plaintiff is not a licensed, educated or degreed electrician and no such

degree, education, diploma, or certification was required for Plaintiff to be hired in

this position.

       32.     Even though Plaintiff applied for a position as an “electrician”,

Defendant’s job posting for “electrician” or “Residential Rough & Trim

Electricians” in the exact same job posting, Defendants therein labels the position as

“Residential Rough & Trim Installers” ... for all locations.

       33.       More importantly, Plaintiff is neither by any educational requirement,

licensure, or certification, an electrician, and upon information and belief, none of

the people filling these positions are required to be licensed, educated, certified or

degreed electricians. The only relevant certification Plaintiff has is being “certified”

by Strada after completing Strada’s Training or Apprentice program.

       34.     The position posted for “Electrician” or “Residential Rough & Trim

Electrician” has only 1 requirement for applicants: the “Ability to use hand and

power tools properly.” Other work experience of 2 years is merely “preferred”, and

thus not required, and neither is any certification, licensure or degree as an

electrician.

       35.     Throughout plaintiff's employment, he routinely was required to work

in excess of 40 hours per week without being paid or compensated any premium pay

for said hours.


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      36.    Plaintiff and members of the putative class were scheduled to work

Monday through Friday, 7:00 am to 3:30 pm.

      37.    In order to complete the work and the jobs assigned to him by the

Defendant, the Plaintiff routinely had to work more than 8 hours in a day and more

than 40 hours in a week.

      38.    Plaintiff was to record his work hours by clocking in and out of a

smartphone app called Bolt.

      39.    Defendants did not have the Plaintiff clock in and out his actual work

hours. Plaintiff’s trainer and supervisor informed him and his training class to clock

out at 3:30 pm, regardless of when they actually stopped working, and that if they

did not start doing so then they would be terminated.

      40.    Plaintiff and other Trainees or Apprentice Installers were regularly

required to stay past the 3:30 pm scheduled end of shift by their Trainer Justin Eagle

in order to complete the job they were working on. Plaintiff and other Trainees or

Apprentice Installers stayed because they were in a training class and were required

to follow the directions given, otherwise they stood the risk of not completing the

training program.

      41.    Thus, Defendants were aware that Plaintiff and other Trainees or

Apprentice Installers were working overtime hours as Plaintiff’s supervisor was at




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the jobsite along with Plaintiff and other Trainees or Apprentice Installers after the

scheduled end of shift of 3:30 pm.

      42.    Additionally, Plaintiff’s supervisors and managers had the ability to

change their reported work hours in Bolt, the app Plaintiff used to report his hours,

and that Defendant’s supervisors and managers did edit his reported hours in Bolt so

that it did not reflect more than 40 hours in a workweek.

      43.    These purported timesheets on Bolt are therefore inaccurate and

unreliable as to the actual work hours of the Plaintiff and all others similarly situated.

      44.    Upon completing the Strada training program, Plaintiff was “certified”

by Strada, was moved to a piece rate basis form of compensation, and was issued

the use of a company vehicle.

      45.    Defendants maintained a GPS tracking system in the company vehicle

provided to the Plaintiff to drive such that Defendants are actually aware of the true

and accurate work hours of the Plaintiff which can be determined by the GPS records

showing the time leaving the company Warehouse, arriving at the first job, and the

completion or leaving the last job site.

      46.    Throughout Plaintiff's employment, he was instructed that he had to

work a minimum mandatory work schedule of Monday through Friday, 7 a.m. to

3:30 pm.




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      47.    At the request and requirement of Defendants, Plaintiff routinely

worked in excess of 3:30 PM, even working into the evening hours.

      48.    Defendants were fully aware and knew that Plaintiff was working more

than 40 hours each week, including working beyond 3:30 pm.

      49.    Defendants also were thus aware that the timesheets generated through

Bolt contained false information of actual hours worked for Plaintiff and other

Trainees or Apprentice Installers.

      50.    For purposes of the collective action, Plaintiff Christopher Grant, by

this Complaint, does hereby and herein gives his written consent to be a party to this

action pursuant to 29 U.S.C. §216(b).

      51.    At all times relevant to this action, Defendants were an employer of

Plaintiff and all other Trainees and Apprentice Installers of this proposed FLSA

collective action within the meaning of 29 U.S.C. §203(g).

      52.    Defendants maintained an unlawful practice and policy of shaving and

editing overtime hours, and/or commanding Trainees or Apprentice Installers to

work off the clock through coercion, intimidation and blatant warnings of being

terminated or laid off if they did not clock out and continue to work off the clock.

      53.    Thus, over the preceding 3-year period to the present, Defendants have

maintained an unlawful scheme to violate the overtime wage requirements of the




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FLSA by knowingly requiring Plaintiff, and all other Trainees or Apprentice

Installers to suffer to work off the clock.

      54.    Defendants threatened, warned and attempted to intimidate Plaintiff

and all other Trainees or Apprentice Installers from making claims for overtime pay

by communicating that complaints would subject them to termination of

employment.

      55.    When Plaintiff completed the training program and was promoted to an

Installer position under a piece rate compensation plan, Defendant continued its

scheme to avoid the overtime wage requirement of the FLSA by either

misclassifying him and all other Piece rate workers as exempt from overtime, or by

willfully falsifying time records and willfully refusing to pay overtime wages for all

hours worked over 40 in each and every work week.

      56.    Defendants falsely represented to Plaintiff, and other piece rate

workers, including Richard Reyes and all other opt in Plaintiffs in the collective

action RICHARD REYES, individually and On behalf of all others similarly

situated v. STRADA SERVICES INC. d/b/a Strada Electric and Security, Case

No: 8:21-cv-00976, MDFL that piece rate workers are not legally entitled to

overtime premiums or overtime wages.

      57.    Defendants instructed, required and permitted Plaintiff and all others

similarly situated to suffer to work off the clock without being paid for all hours


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worked. By doing so, Plaintiff and other installers/apprentices were intentionally

denied overtime premiums for hours worked over 40 in each and every respective

work week.

       58.    Defendants have willfully violated, and continue to violate, §207 of the

FLSA by failing to pay Plaintiff and others similarly situated overtime compensation

for all hours worked in excess of forty (40) per week.

       59.    Upon information and belief, for the three (3) year period before this

filing, (the "Class Period"), the continued violations of FLSA §207 that are

complained of herein have been practiced and imposed upon all workers in the

Strada Training program working under the job titles of Trainees or Apprentice

Installers.

       60.    The FLSA provides that, with certain exceptions, employers must pay

employees overtime of at least one and one-half (1.5) times their regular rate of pay

for any hours over forty (40) worked in a week. 29 U.S.C. §207(a)(1). Although the

FLSA provides for certain exemptions to the mandates of paying overtime

compensation, no exemption applies in the instant matter, and Defendant has

willfully violated the FLSA by not paying Plaintiff and other Trainees or Apprentice

Installers for all of their overtime hours worked.

       61.    Moreover, pursuant to the FLSA and DOL regulations, Plaintiff and all

other Trainees or Apprentice Installers, as hourly paid laborers, are required to be


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paid a premium for all overtime hours worked, at one and one half times their regular

rates of pay for all hours worked over forty (40) in each and every workweek.

      62.    Defendants knew the overtime wage requirements of the FLSA

applicable to these hourly, paid, non-exempt apprentice or trainee employees and

continued to unlawfully and intentionally steal their earned wages and refuse to pay

overtime compensation, despite numerous lawsuits and payment of thousands of

dollars in back wages for unlawfully withholding wages to its employees from

numerous lawsuits.

      63.    Unless proven to be exempt from the protection of overtime laws, all

employees are entitled to premium overtime pay for work in excess of forty (40)

hours per week.

      64.    Plaintiff and members of the Class were, and continue to be, required

to work more than forty (40) hours a week during the course of their training or

apprentice program with Defendants.

      65.    Plaintiff herein alleges individually and on behalf of the members of

the putative Class of similarly situated, that Defendants’ failure to pay overtime

compensation was and is a knowing and willful violation of the overtime wage

requirements of the FLSA.

      66.    The Defendants’ practices are clearly unlawful, and Defendants knew

it because it faced numerous lawsuits and claims from other workers, in the cases


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of: Vasquez v. Strada Services Inc, Case no. c:-18-CV-01288; Serna v. Strada

Services Inc., case no- CV-28911-TPB; Vargas v. Strada Services Inc., case no.

6:19-1892-EJK, all filed in the United States District Court, MIDDLE DISTRICT

OF FLORIDA.

      67.    Despite having to pay many thousands of dollars in stolen overtime

wages to these former piece rate employees, and others who joined or filed consents,

Defendants refused to change its unlawful pay practices and continued with its

scheme to avoid its obligations under the FLSA to pay a premium to non-exempt,

piece rate workers as required by the FLSA.

      68.    Additionally, Defendant Strada is currently facing another FLSA

collective action filed on behalf of all its piece rate Installers who, again, allege that

Defendant Strada is denying them their lawful overtime compensation and that

Defendant: informed them they were FLSA exempt because they were piece rate

workers, Defendant edited or shaved their timesheets, or Defendant simply filled out

the timesheets of the piece rate workers to ensure their weekly work hours did not

exceed 40. See RICHARD REYES, individually and On behalf of all others

similarly situated v. STRADA SERVICES INC. d/b/a Strada Electric and Security,

Case No: 8:21-cv-00976, MDFL.

      69.    Taken together - the three cases that already settled, the collective

action currently pending in the US Middle District of Florida, and the allegations


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herein - clearly demonstrate that Defendants’ repeated failure to pay its employees

their correct overtime wages is an intentional and willful scheme devised by

Defendants to evade its FLSA obligations and save millions of dollars in labor costs.

      70.      Thus, Plaintiff herein alleges individually and on behalf of the members

of the putative Class of similarly situated, that Defendants intentionally and willfully

maintained an unlawful scheme to evade and avoid their FLSA wage obligations.

      71.      Accordingly, Plaintiff and the putative Class of similarly situated seek,

and are entitled to recover, all overtime pay due from overtime hours worked for

which compensation was not paid, an equal sum in liquidated damages, prejudgment

interest, attorneys’ fees and costs under the FLSA’s three (3) year statute of

limitations.

                    COLLECTIVE ACTION ALLEGATIONS

      72.      Plaintiff brings this action individually and on behalf of all others

similarly situated who worked for Strada in the Strada Training or Apprentice

Program under any title, such as Trainees or Apprentice Installers, referenced herein

as the putative class, as a collective action pursuant to the Fair Labor Standards Act.

29 USC §216(b).

      73.      In Young v. Cooper Cameron Corp., the court stated that: “The

requirements of Fed. R. Civ. P. 23 do not apply to the approval of a collective action

and thus no showing of numerosity, typicality, commonality and representativeness


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need be made.” Young v. Cooper Cameron Corp., 229 F.R.D. 50, 54 (S.D.N.Y.

2005).

         74.   Still, despite the Young court’s ruling, the members of the Class are so

numerous that joinder of all members is impracticable and in the interests of justice,

as well as in keeping with the legislature’s intent in creating Collective Actions under

Section 216(b), proceeding as a collective action is proper in this case. While the

exact number of the members of the putative Class is unknown to the Plaintiff at this

time and can only be ascertained through appropriate discovery, upon information

and belief, Plaintiff believes that there are 200 or more individuals in the defined

class within the three (3) year relevant class period.

         75.   Plaintiff will fairly and adequately protect the interests of the putative

Class of similarly situated Trainees or Apprentice Installers, and has retained counsel

that is experienced and competent in class/collective actions and employment

litigation. Plaintiff has no interest that is contrary to, or in conflict with, members

of the putative Class.

         76.   A collective action suit, such as the instant one, is superior to other

available means for a fair and efficient adjudication of this lawsuit. The damages

suffered by individual members of the Class may be relatively small when compared

to the expense and burden of litigation, making it virtually impossible for members

of the Class to individually seek redress for the wrongs done to them.


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      77.    A collective action is, therefore, superior to other available methods for

the fair and efficient adjudication of the controversy. Absent these actions, the

members of the Class likely will not obtain redress of their injuries and Defendant

will retain the proceeds from its violations of the FLSA.

      78.    Furthermore, even if any member of the Class could afford individual

litigation against the Defendant, it would be unduly burdensome to the judicial

system. The instant methodology, when compared to voluminous individual actions,

has fewer management difficulties and provides the benefits of unitary adjudication,

economies of scale, and comprehensive supervision by a single court. Concentrating

this litigation in one forum will promote judicial economy and parity among the

claims of individual members of the Class and provide for judicial consistency.

      79.    There is a well-defined community of interest in the questions of law

and fact affecting the Class as a whole. The question of law and fact common to

each of the Class predominate over any questions affecting solely individual

members of the action. Among common questions of law and fact are:

             a   Whether Defendants employed members of the Class within the

                 meaning of the applicable provisions of the FLSA;

             b   Whether Plaintiff and members of the Class were expected,

                 permitted, and encouraged to regularly work hours in excess of




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           forty (40) per week off the clock and without being paid a premium

           for all hours worked;

       c   Whether Defendants unlawfully either edited or shaved overtime

           hours from employees time records, or required and instructed

           employees to shave, edit and remove or not submit overtime hours

           on their own weekly time records;

       d   Whether Defendants knowingly failed to maintain and preserve

           accurate and true records of all hours worked and wages earned by

           Plaintiff and the Class;

       e   Whether Plaintiff and the Class have sustained damages, and if so,

           what is the proper measure of such damages;

       f   Whether Defendants willfully and with reckless disregard,

           underpaid Plaintiff and the class of similarly situated, even when

           they did pay a premium for overtime hours worked;

       g   Whether Defendants maintained a De Facto, unlawful policy

           against paying overtime wages to piece rate workers and against

           piece rate workers from claiming or reporting all hours worked; and

       h   Whether Defendants permitted Plaintiff and all others similarly

           situated to suffer to work off the clock.




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      80.       Plaintiff knows of no difficulty that will be encountered in the

management of this litigation that would preclude its continued maintenance as a

collective action.

                         COUNT I
    FAILURE TO MAINTAIN TRUE AND ACCURATE RECORDS OF
                     HOURS WORKED

      81.       The foregoing paragraphs are realleged and incorporated as if fully set

forth herein.

      82.       All employers subject to the FLSA must maintain and preserve certain

records describing the wages, hours and working conditions of their employees.

      83.       Evidence reflecting the precise number of overtime hours worked by

Plaintiff and every member of the Class, as well as the applicable compensation

rates, is in the possession of Defendant.

      84.       However, and to the extent records are unavailable, Plaintiff and

members of the Class may establish the hours they worked solely by their testimony

and the burden of overcoming such testimony shifts to the employer. Anderson v.

Mt. Clemens Pottery Co., 328 U.S. 680 (1946).

      85.       With respect to an employee subject to the FLSA provisions, the

following records must be kept:




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             a.    Personal information, including employee's name, home address,

                   occupation, sex, and birth date if under nineteen (19) years of

                   age;

             b.    Hour and day when workweek begins;

             c.    Regular hourly pay rate for any week when overtime is worked;

             d.    Total hours worked each workday and each workweek;

             e.    Total daily or weekly straight-time earnings;

             f.    Total overtime pay for the workweek;

             g.    Deductions from or additions to wages;

             h.    Total wages paid each pay period; and

             i.    Date of payment and pay period covered

      86.    Failure to comply with the recordkeeping requirements is a violation of

the FLSA for which criminal or civil sanctions may be imposed, whether or not other

statutory violations exist. See, 29 U.S.C. §215(a)(5); See also, Dunlop v. Gray-Goto,

Inc., 528 F.2d 792 (10th Cir. 1976).

      87.    Accurate records are not only required for regulatory purposes, they are

critical to an employer's defense of claims that it violated the FLSA. An employer

that fails to maintain the required records cannot avoid liability in a wage-hour case

through argument that there is insufficient evidence of the claimed hours worked.

See Wirtz v. First State Abstract Ins. Co., 362 F.2d 83 (8th Cir. 1966); Boekemeier

v. Fourth Universalist Soc'y, 86 F. Supp. 2d 280 (S.D.N.Y. 2000).


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      88.       An employer's failure to maintain records may create a presumption in

the aggrieved employee's favor. See Myers v. The Copper Cellar Corp., 192 F.3d

546, 551 n.9 (7th Cir. 1999), citing Anderson v. Mt. Clemens Pottery Co., 328 U.S.

680 (1946).

      89.       Defendant has failed to accurately record, track and report the

Plaintiff’s work hours, and for the Class of similarly situated members’ time and

work hours as required under the FLSA.

      90.       Defendant has failed to make, keep and preserve records, with respect

to each of its employees sufficient to determine the wages, hours and other

conditions and practices of employment in violation of 29 CFR §516.2 and 29 U.S.C.

§§211, 216 and related laws.

                                 COUNT II
                       VIOLATION OF § 207 OF THE FLSA

      91.       The foregoing paragraphs are realleged and incorporated as if fully set

forth herein.

      92.       At all relevant times, Defendants employed Plaintiff, and/or each

member of the Putative Class of similarly situated, and continues to employ

members of the Putative Class, within the meaning of the FLSA.

      93.       Upon information and belief, all Trainees or Apprentice Installers were

paid under a common and similar compensation plan and scheme, comprised of an

hourly rate of pay.

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      94.    Defendants maintained a De Facto policy and practice of refusing to

pay overtime compensation to its Trainees or Apprentice Installers for the hours

worked in excess of forty (40) hours per week.

      95.    Defendants intimidate, coerce, and dissuade Trainees or Apprentice

Installers from reporting or claiming overtime hours (hours over forty (40) in a

workweek) for fear of scrutiny, discipline, management displeasure, not completing

the training program, or termination, meanwhile, requiring Trainees or Apprentice

Installers to complete jobs regardless of the number of hours required to do so.

      96.    Defendants’ management is well aware of employees working more

than 8 hours in a day, more than 40 hours in a week, and well beyond the minimum

work schedule of Monday to Friday, 7:00 am until 3:30 pm, and requires these

employees to do so.

      97.    Defendants do not instruct, order or command employees to leave at

the end of their shift time, but, on the contrary, Plaintiff’s trainer required him and

other Trainees or Apprentice Installers to remain at the jobsite and keep working

past the scheduled end of shift off the clock and after clocking out.

      98.    As a result of Defendants’ unlawful pay practices complained of herein,

throughout the three (3) year class period to the present, Defendants have willfully

stolen overtime wages from Trainees or Apprentice Installers.




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      99.    Defendants knowingly and willfully failed to pay Plaintiff and all other

members of the Class, overtime compensation at the appropriate legal rate for all

hours they performed work on behalf of Defendants above and beyond forty (40)

hours per workweek in violation of the FLSA, in particular 29 U.S.C. § 207.

      100.   The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. §255(a).

      101.   Defendants cannot and do not have a good faith basis under the FLSA

for its willful actions and conduct of refusing and failing to pay Plaintiff and all

similarly situated Trainees or Apprentice Installers lawful rates for all overtime

hours worked over 40 hours in each and every workweek, especially since the law

is clear and Defendants have had 3 or more similar lawsuits and never corrected its

unlawful pay practices.

      102.   Plaintiff and the class of similarly situated thus are entitled to, and

should be awarded liquidated damages of an equal sum of the overtime wages

awarded or recovered for a period of three (3) years preceding the filing of this action

to the present and continuing.

      103.   Due to Defendants’ willful FLSA violations, Plaintiff alleges on behalf

of the members of the Class that they have suffered damages and are entitled to

recover from Defendants the unpaid and underpaid overtime compensation due and

owing for all hours worked in excess of forty (40) in each and every workweek, an


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additional equal amount as liquidated damages, prejudgment interest, reasonable

attorneys’ fees, costs and disbursements of this action, pursuant to 29 U.S.C.

§216(b).

      104.   Plaintiff and the class of similarly situated have suffered financial harm

and loss of monies owed to them as a direct and proximate result of Defendants’

unlawful pay practices complained of herein.

      WHEREFORE Plaintiff, CHRISTOPHER GRANT prays for:
      a.     An order designating this action as a collective action and issuance of

             notice pursuant to 29 U.S.C. §216(b) to all similarly situated

             individuals across the nation with instructions to permit them to assert

             timely FLSA claims in this action by filing individual Consents to Join

             this action as plaintiffs pursuant to §216(b); and that notice be sent to

             all past and present employees of STRADA SERVICES INC. any time

             during the three (3) year period immediately preceding the filing of this

             suit, through and including the date of this Court's issuance of the Court

             Supervised Notice;

      b.     An order awarding attorneys’ fees and costs pursuant to §216 of the

             FLSA;




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 c.    That the Court find Defendants have willfully violated the record

       keeping requirement of the FLSA and declare their time records both

       unreliable and false;

 d.    That the Court find that Defendants have willfully violated Section 207

       of the FLSA by failing to pay premiums for all hours worked over 40

       in each and every workweek by Plaintiff and all those who opt in and

       seek to join this action; and that the Court find that Defendants’

       violations of the FLSA were and are willful;

 e.    That the Court award Plaintiff Grant and the putative Class of all

       similarly situated employees overtime compensation for all the

       previous hours worked over forty (40) hours in each and every

       workweek at the correct and lawful rate of pay during the past three (3)

       years, AND an equal sum as liquidated damages. In addition, interest

       on said award pursuant to §216 of the FLSA;

 f.    That the Court appoint Mitchell Feldman, Esq. and the firm of Feldman

       Legal Group as class counsel in the FLSA collective action, and appoint

       Christopher Grant as class representative for all those similarly situated

       with the authority to negotiate on behalf of all opt in plaintiffs; and

 g.    That the Court award any other legal and equitable relief as this Court

       may deem appropriate, fair and just.


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                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint and on all

other issues so triable.

      Filed this 17th day of June 2021.

                                       Respectfully submitted,

                                       /s/Mitchell Feldman, Esq.
                                       Mitchell L. Feldman, Esquire
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                                       Attorney for Plaintiff, and the class Of
                                       similarly situated




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